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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION

 UNITED STATES                                                       PLAINTIFF/RESPONDENT


        V.                                 No. 10-20057


 URIEL LIRA-PEREZ                                                  DEFENDANT/PETITIONER

             MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

        Before the court is the Petitioner's Motion to Dismiss (ECF No. 256) pursuant to Federal

 Rules of Criminal Procedure, Rule 7(c) filed August 6, 2012. The United States of America filed

 a Response (Doc. 258) on August 10, 2012. The Petitioner has not filed a Reply and the matter

 is ready for Report and Recommendation.

                                          I. Background

        The Defendant was initially charged by complaint with conspiracy to distribute

 methamphetamine (ECF No. 1) on October 22, 2010. An indictment was returned on November

 4, 2010 contending that the Defendant conspired with others named in the indictment to

 distribute more than 50 grams of a mixture or substance containing a detectable amount of

 methamphetamine. (ECF No. 42). A superceding indictment was returned on January 13, 2011

 with added the charge of illegal re-entry. (ECF No. 108).

        On June 11, 2011 the Defendant executed a plea agreement (ECF 176) agreeing to plea

 guilty to the conspiracy charge and the government agreed to dismiss the illegal re-entry charge.

 (Id., ¶ 1). On December 2, 2011 Judgment was entered sentencing the Defendant inter alia to 108

 months in prison. (ECF No. 218). The Defendant appealed his sentence to the Eighth Circuit

 Court of Appeals on December 12, 2011 (ECF No. 221) which affirmed the sentence on July 19,
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 2012 (ECF No. 255).

                                            II. Discussion

         The Defendant filed the current Motion to Dismiss (ECF No. 256) on August 6, 2012

 contending “there is not a Fair Notice in the indictment to the type and amount of drugs as to the

 penalties he faces”. (Id., ¶1).

         The Indictment (ECF No. 42) charged that the Defendant along with six other named co-

 conspirators, between September 2010 and October 21, 2010 did:

                 “knowingly and intentionally combine, conspire, confederate and agree
         with each other, and with other known and unknown to the Grand Jury, to
         distribute a controlled substance, namely more than 50 grams of a mixture or
         substance containing a detectable amount of methamphetamine, a Schedule II
         controlled substance, in violation of Title 21 U.S.C. §§841(a)(1) and 841 (b)(1)
         (B)(viii), all in violation of Title 21 U.S.C. § 846.

         “An indictment is legally sufficient on its face if it contains all of the essential elements

 of the offense charged, fairly informs the defendant of the charges against which he must defend,

 and alleges sufficient information to allow a defendant to plead a conviction or acquittal as a bar

 to a subsequent prosecution.” See U.S. v. Steffen 687 F.3d 1104, 1109 (C.A.8 (Mo.),2012) citing

 United States v. Fleming, 8 F.3d 1264, 1265 (8th Cir.1993). “An indictment is normally

 sufficient if its language tracks the statutory language.” United States v. Sewell, 513 F.3d 820,

 821 (8th Cir.2008). An indictment provides sufficient “specific facts constituting the offense” if

 it apprises the defendant of the time frame of the alleged drug conspiracy and the type of drugs

 involved. See U.S. v. Huggans 650 F.3d 1210, 1218 (C.A.8 (Mo.),2011) citing United States v.

 Peterson, 867 F.2d 1110, 1114 (8th Cir.1989), overruled on other grounds by United States v.

 Richardson, 439 F.3d 421 (8th Cir.2006); see also United States v. Olderbak, 961 F.2d 756, 760

 (8th Cir.1992). The Indictment is clearly sets forth the time frame, and the type and quantity of
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 the drug the government alleges was being distributed.

         The Defendant’s main assertion seems to be that the Indictment is defective because it did

 not set forth any penalty range, however, it is not necessary in the indictment to set forth the

 penalty range. See U.S. v. Carter, 270 F. 3rd 731 (C.A. 8(Mo.), 2001).

         The Defendant also seems to argue that somehow the case of Apprendi v. New Jersey

 shows that his Indictment was defective although the rational for this argument is difficult to

 follow. Apprendi held that a fact that increases the prescribed statutory maximum penalty to

 which a criminal defendant is exposed must be submitted to a jury and proven beyond a

 reasonable doubt. Id. at 2362–63. Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348, 147

 L.Ed.2d 435 (2000).

         The Eighth Circuit has clearly stated that “There is nothing on the face of the statute that

 violates Apprendi. As long as section 841(b) is implemented in a manner consistent with the

 requirements of Apprendi there is no constitutional defect.” U.S. v. Carter 294 F.3d 978, 980

 (C.A.8 (Mo.),2002).1

         The Defendant entered a Plea Agreement (ECF No. 176) which stipulated to the fact that

 more than 50 grams of Methamphetamine was distributed in the conspiracy (Id., ¶2) and that he

 understood the Maximum Penalties (Id., 10). No additional finding was required by the district

 court to justify the sentence of imprisonment that was imposed pursuant to § 841(b)(1)(A). See

 U.S. v. Lucca 377 F.3d 927, 934 (C.A.8 (Minn.),2004)




         1
            The Defendant cites two Ninth Circuit cases to support his contention that the Indictment is facially
 unconstitutional. United States v. Nordby, 225 F. 3d 1053 (9th Cir. 2000), United States v. Buckland, 259 F.3d 1157
 (9th Cir. 2001). In an en banc rehearing, the Ninth Circuit Court of Appeals overturned the previous rulings by
 holding that § 841 is not facially unconstitutional. United States v. Buckland, 289 F.3d 558, 572 (9th Cir. 2002)
 (emphasis added).
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                                        III. Conclusion

        Based upon the forgoing I recommend that the instant Motion to Dismiss (ECF No. 256)

 be DENIED.

        The parties have fourteen days from receipt of this report and recommendation in

 which to file written objections pursuant to 28 U.S.C. Section 636(b)(1). The failure to file

 timely written objections may result in waiver of the right to appeal questions of fact. The

 parties are reminded that objections must be both timely and specific to trigger de novo

 review by the district court.



        DATED this August 31, 2012.




                                            /s/ J. Marschewski
                                            HONORABLE JAMES R. MARSCHEWSKI
                                            UNITED STATES MAGISTRATE JUDGE
